UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- X
                                                                        :
KENT SALVESON,                                                          :
                                                                        :
                                    Plaintiff,                          :        21 Civ. 10929 (JPC) (GWG)
                                                                        :
                  -v-                                                   :        ORDER OF REFERENCE
                                                                        :         TO A MAGISTRATE
RELATED MANAGEMENT COMPANY, L.P. et al.,                                :              JUDGE
                                                                        :
                                    Defendants.                         :
                                                                        :
----------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

       This action is referred to the Honorable Gabriel W. Gorenstein for the following
purposes:

☐       General Pretrial (includes scheduling,       ☐             Consent under 28 U.S.C. § 636(c) for all
        discovery, non-dispositive pretrial motions,               purposes (including trial)
        and settlement)
                                                     ☐             Consent under 28 U.S.C. § 636(c) for
☐       Specific Non-Dispositive Motion/Dispute:                   limited purpose (e.g., dispositive motion,
                                                                   preliminary injunction)
         __________________________________                        Purpose:
                                                                   _________________________________
☐       If referral is for discovery disputes when
        the District Judge is unavailable, the time       ☐        Habeas Corpus
        period of the referral: ________________
                                                          ☐        Social Security
☒       Settlement
                                                          ☐        Dispositive Motion (i.e., motion requiring a
☐       Inquest After Default/Damages Hearing                      Report and Recommendation).
                                                                   Particular Motion:

                                                                   ___________________________________


        SO ORDERED.

Dated: July 20, 2022                                       __________________________________
       New York, New York                                          JOHN P. CRONAN
                                                                  United States District Judge
